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                                           NO. 23-2236
                                                 In The

        United States Court Of Appeals
                        For The Fourth Circuit
                        LARISSA HARPER HAIRGROVE,
                                                                       Plaintiff - Appellant,

                                                     v.


     CITY OF SALISBURY; DOWNTOWN SALISBURY INC.;
       LANE BAILEY, in his individual and official capacity,
                                                                       Defendants - Appellees.

                    ON APPEAL FROM THE UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
                                    AT GREENSBORO

                                           ______________

                                      BRIEF OF APPELLEES
                                         ______________



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                    UNITED STATES COURT OF APPEALS FOR THE FOURTH CIRCUIT

                                            DISCLOSURE STATEMENT

        •    In civil, agency, bankruptcy, and mandamus cases, a disclosure statement must be filed by all
             parties, with the following exceptions: (1) the United States is not required to file a disclosure
             statement; (2) an indigent party is not required to file a disclosure statement; and (3) a state
             or local government is not required to file a disclosure statement in pro se cases. (All parties
             to the action in the district court are considered parties to a mandamus case.)
        •    In criminal and post-conviction cases, a corporate defendant must file a disclosure statement.
        •    In criminal cases, the United States must file a disclosure statement if there was an
             organizational victim of the alleged criminal activity. (See question 7.)
        •    Any corporate amicus curiae must file a disclosure statement.
        •    Counsel has a continuing duty to update the disclosure statement.


        No. 23-2236                Caption: Larissa Hairgrove v. City of Salisbury

        Pursuant to FRAP 26.1 and Local Rule 26.1,

        City of Salisbury and Lane Bailey
        (name ofparty/amicus)



         who is           appellees          , makes the following disclosure:
        (appellant/appellee/petitioner/respondent/amicus/intervenor)


        1.      Is party/amicus a publicly held corporation or other publicly held entity? DYES ~O


        2.      Does party/amicus have any parent corporations?                               DYES ~O
                If yes, identify all parent corporations, including all generations of parent corporations:




        3.      Is 10% or more of the stock of a party/amicus owned by a publicly held co,!!Wration or
                other publicly held entity?                                              LJ YES 0 NO
                If yes, identify all such owners:




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        4.    Is there any other publicly held corporation or other publicly held entity that has a direct
              financial interest in the outcome of the litigation?                          0YES~O
              If yes, identify entity and nature of interest:




        5.    Is party a trade association? (amici curiae do not complete this question)    0YES~NO
              If yes, identify any publicly held member whose stock or equity value could be affected
              substantially by the outcome of the proceeding or whose claims the trade association is
              pursuing in a representative capacity, or state that there is no such member:




        6.    Does this case arise out of a bankruptcy proceeding?                                0YES~NO
              If yes, the debtor, the trustee, or the appellant (if neither the debtor nor the trustee is a
              party) must list (1) the members of any creditors' committee, (2) each debtor (if not in the
              caption), and (3) if a debtor is a corporation, the parent corporation and any publicly held
              corporation that owns 10% or more of the stock of the debtor.




        7.    Is this a criminal case in which there was an organizational victim?             0YES~O
              If yes, the United States, absent good cause shown, must list (1) each organizational
              victim of the criminal activity and (2) if an organizational victim is a corporation, the
              parent corporation and any publicly held corporation that owns 10% or more of the stock
              of victim, to the extent that information can be obtained through due diligence.




        Signature: /s/ Steven A. Bader                                                  12-13-2023

        Counsel for: City of Salisbury and Lane Bailey




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                                    UNITED STATES COURT OF APPEALS FOR THE FOURTH CIRCUIT

                                                           DISCLOSURE STATEMENT

                        •    In civil, agency, bankruptcy, and mandamus cases, a disclosure statement must be filed by all
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                        •    In criminal cases, the United States must file a disclosure statement if there was an
                             organizational victim of the alleged criminal activity. (See question 7.)
                        •    Any corporate amicus curiae must file a disclosure statement.
                        •    Counsel has a continuing duty to update the disclosure statement.


                        No. 23-2236                Caption: Hairgrove v. City of Salisbury, et. al.

                        Pursuant to FRAP 26.1 and Local Rule 26.1,

                        DOWNTOWN SALISBURY, INC.
                        (name of party/amicus)
 Pg:14ofof272
Pg:




                         who is           Appellee           , makes the following disclosure:
                        (appellant/appellee/petitioner/respondent/amicus/intervenor)
        05/03/2024
 Filed:12/04/2023




                        1.      Is party/amicus a publicly held corporation or other publicly held entity? DYES 0N°O


                        2.      Does party/amicus have any parent corporations?                               DYES 0No
Filed:




                                If yes, identify all parent corporations, including all generations of parent corporations:
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                        3.      Is 10% or more of the stock of a party/amicus owned by a publicly held co,rm>ration or
                                other publicly held entity?                                              LJYES0NO
                                If yes, identify all such owners:
USCA4 Appeal: 23-2236




                        1210112019 sec                                    - 1-
                        4.     Is there any other publicly held corporation or other publicly held entity that has a direct
                               financial interest in the outcome of the litigation?                          0YES[aNO
                               If yes, identify entity and nature of interest:




                        5.    Is party a trade association? (amici curiae do not complete this question)    0YES0NO
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                        7.    Is this a criminal case in which there was an organizational victim?            0YES0No
                              If yes, the United States, absent good cause shown, must list (1) each organizational
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                              parent corporation and any publicly held corporation that owns 10% or more of the stock
                              of victim, to the extent that information can be obtained through due diligence.
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                                     6~~
                        Signature: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __                         Date:
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                        Counsel for: Appellee Downtown Salisbury, Inc.




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                             STATEMENT OF THE CASE

              A.   DSI and Salisbury entered a memorandum of understanding
                   for DSI to manage Salisbury’s “Main Street Program”

              Downtown Salisbury, Inc. (DSI) is a quasi-governmental 501(c)(3)

        nonprofit organization formed in the early 1980’s “[t]o promote, enhance

        and manage the development of the central business district of Salisbury,

        … by improving and expanding the district to become the economic,

        governmental, social and cultural center of Rowan County.” (JA0812)

        DSI is an accredited “Main Street Program.” (Id.) DSI is managed by a

        full-time director, and it has a 21-person board of directors. (JA0718,

        JA0812)

              On June 16, 2017, Salisbury and DSI entered a memorandum of

        understanding (“MOU”) for DSI to manage and operate Salisbury’s Main

        Street Program. (JA0585-587) The DSI director was a city department

        head who reported to the assistant city manager. (Id.) DSI operated

        within guidelines set by the Main Street Program, and this included

        establishing four specific committees devoted to Design, Economic

        Restructuring, Organization and Promotions. (Id.)




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              B.   Hairgrove was hired as the DSI director, an exempt position

              In May 2017, Larissa Hairgrove applied for the DSI director

        position. (JA0048-49, JA0671-672, JA0798-800) Salisbury offered her the

        job. (Id.; JA0801-802) The offer letter described the director role as “a

        salary/exempt position.” (JA0801) Hairgrove accepted the offer on August

        28, 2017. (Id.; JA0801-802).

              Hairgrove’s initial salary was $75,000.12 per year paid in bi-weekly

        installments of $2,884.62. (Id.) Her pay grade was 30. (JA0581-583)

        Hairgrove’s salary was $80,000 when she resigned in June 2020.

        (JA0672-673, JA0892) Hairgrove remained the director throughout her

        employment. (JA0745) She was never demoted, and her compensation

        and benefits were never reduced. (Id.)

              C.   Hairgrove was trained on her exempt status

              Hairgrove went through orientation on October 11, 2017. In this

        process, she signed a “Statement of Understanding” in which she

        acknowledged, inter alia, “I have been told the FLSA status of my

        position and I understand the overtime policy as it relates to me.”

        (JA0673-678, JA0888) Hairgrove underlined this statement and

        understood she was not eligible for overtime. (Id.)



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              Hairgrove also received a copy of Salisbury’s employee handbook

        during her orientation. (JA0733, JA0888, JA0937) Hairgrove understood

        its “Wage and Hour Policies,” which stated that exempt employees would

        not receive overtime compensation if they worked more than 40 hours in

        a week. (JA0734-735, JA0928-929) Pursuant to the “Recording Time”

        policy, Hairgrove was required to notify Salisbury about any “pay

        discrepancies, unrecorded or misreported work hours, or any involuntary

        missed meal or break periods.” (JA0930) Hairgrove never used

        Salisbury’s complaint form (attached to the handbook) to report any such

        issues. (JA0735-736, JA0743-744, JA0973)

              Hairgrove completed weekly time sheets that were submitted to

        Salisbury. (JA0746-747, JA0975-1041) These time sheets showed that

        Hairgrove worked 37.5 hours per week. (JA0732, JA0975-1041)

        Hairgrove never disputed them. (Id.)

              In March 2019, more than a year into her employment as DSI

        director, Hairgrove received additional training on the Fair Labor

        Standards Act. (JA0737-742, JA0938-972) This training addressed

        employee misclassification, among other things. (Id.) Hairgrove never

        claimed to be misclassified. (Id.)



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              D.   Hairgrove’s primary duties were managerial

              As the DSI director, Hairgrove was a city department head in

        charge of DSI’s daily operations. (JA0892) Her responsibilities,

        accomplishments and goals are memorialized in DSI board meeting

        minutes, along with Hairgrove’s own work product. (JA0589-626,

        JA0713-714, JA0821-0828, JA1087-1103)

              Hairgrove built a new department and merged economic

        development duties through a new quasi-governmental structure.

        (JA0680, JA0892) In her view, she “really had to clean up the whole

        structure, put . . . systems in place that weren’t in place. . . I was hired

        to develop a department, a City department, the way I knew how. That’s

        what I was hired to do, and to be the executive director to this nonprofit

        partner arm.” (JA0645-646)

              To develop her department, Hairgrove trained DSI board members

        and staff on how to run the DSI office through its new quasi-

        governmental structure. (JA0644, JA0647, JA0650-654, JA0663-664,

        JA0723, JA0725-726, JA0892) Hairgrove described herself as “a full time

        Executive Director who overs[aw] the progress and purpose of the

        organization.” (JA0718) Her job was “to assist with getting the whole



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        overall [DSI work] plan done and . . . directing the development of the

        downtown,” including building redevelopment and ensuring that her

        staff was present at DSI events. (JA0642-643)

              Hairgrove responded to Salisbury’s request for proposal (RFP)

        regarding future management of the Main Street Program. (JA0718-720,

        JA0812-820) This RFP was crucial for DSI to continue to receive

        Municipal Service District funds for its programming. (Id.)

              Hairgrove was responsible for enhancing the downtown municipal

        service district through business retention, recruitment, property

        development, marketing and memorable events, and North Carolina

        Main Street reporting and assessment. (JA0655, JA0695-696, JA0892)

        She “[w]orked extensively with the Planning & Community Development

        Department with consultants on a downtown parking study, market

        study, updating the Downtown Master Plan and other internal and

        external programs and projects.” (JA0696)

              Hairgrove led monthly meetings of the DSI board and its four

        committees. (JA0648-649, JA0697-698, JA0705, JA0815, JA0892) She

        presented her director’s report at each board meeting. (JA0704, JA0729-

        730, JA0825) Hairgrove also attended the committee meetings “because



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        [she] was overseeing this” and they frequently needed her to make

        decisions or provide direction. (JA0698) Hairgrove reported to the board

        on the committees’ activities. (JA0719) Each DSI committee had its own

        mission that complimented Hairgrove’s managerial duties. (JA0648,

        JA0697-698, JA0718, JA0815, JA0892)

              Hairgrove attended weekly city department head meetings that

        included all heads, City Manager Lane Bailey, Assistant City Manager

        Zack Kyle, and the city attorney. (JA0648-649, JA0691-692) She also

        attended the city council’s bi-weekly meetings to provide updates on

        DSI’s projects. (JA0703-704) Hairgrove submitted work plans and

        goals/objectives lists to the DSI board and Assistant City Manager Kyle.

        (JA0722-731, JA0821-828, JA1087-1103)

              Given her position, Hairgrove was evaluated on her managerial

        duties, including development, direction and training of employees,

        business recruitment and property development, carrying out “duties

        expected of a Department Head,” “work[ing] with the Empire Hotel

        Development Team to secure executed contracts, coordinate with

        contractors, consultants, city staff, and City Council to implement the




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        closing transaction,” and “[d]irect[ing] the overall economic development

        program of work for” DSI. (JA0483-509)

              Hairgrove was the main contact point between the public and DSI.

        She frequently met with “stakeholders” (businesses and property owners)

        to “find out what their needs are” because “it was part of the job.”

        (JA0700-701) Once she determined the stakeholders’ needs, she would

        connect them with a DSI committee for further assistance. (Id.)

        Hairgrove’s goal was to “build a relationship with each retailer and

        brainstorm ideas for growing their business.” (JA0725, JA0822)

              Hairgrove oversaw a $347,000 total budget for both DSI and

        Salisbury. (JA0680, JA0728) She had to ensure that the budget plan

        “align[ed] with the economic development plan and general operations of

        the MS organization.” (JA0725, JA0822) Hairgrove was responsible for

        “staying within budget, cutting for efficiency and conservation of funds

        when needed.” (JA0696) She managed DSI’s books and worked with

        CPAs on DSI audits. (JA0728) Hairgrove prepared Form 990’s as part of

        DSI’s annual financial reporting. (JA0730-731)

              In addition, Hairgrove had to prepare and submit annual reports to

        the   North     Carolina   Main   Street    office   that      described   DSI



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        accomplishments and ongoing projects. (JA0726-727, JA0823) Hairgrove

        secured a $543,000 federal historic redevelopment grant and a $10,000

        to $20,000 EPA/USDA Local Foods grant in 2020. (JA0647, JA0708-710,

        JA0729, JA0824, JA0892) She also applied for a $1,000,000 RISE grant

        for the redevelopment of the Empire Hotel. (JA0708-710)

              E.    Hairgrove hired and managed two full-time employees

              Hairgrove managed two full-time employees, events and marketing

        coordinator LaToya Price and administrative specialist Candice Brown.

        (JA680-681) Price and Brown began their employment in October 2018.

        (Id., JA0628) Price was still employed when Hairgrove resigned. (Id.)

        Brown resigned in April 2020. (Id.) Price’s pay grade was 18 and Brown’s

        was 15. (JA0581)

              For both positions, Hairgrove received and reviewed resumes and

        applications, decided who to interview, conducted interviews, and then

        selected Price and Brown for their respective positions. (JA0681-687)

        Hairgrove also created the events and marketing coordinator position

        and advertised for it. (Id.)

              Hairgrove supervised, counseled, and disciplined her staff.

        (JA0693-694) She conducted performance evaluations and delegated



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        duties as she deemed necessary. (JA0642-643, JA0646, JA0691-692,

        JA0720) Hairgrove also conducted a pre-dismissal hearing with a staff

        member. (JA0668) Hairgrove also supervised two interns, Katelin Rice

        and Jordan Ferguson. (JA0815, JA0688)

              F.   Hairgrove did not meet job expectations dating back to 2018.

              Assistant City Manager Kyle and DSI board members expressed

        concerns about Hairgrove’s performance throughout her tenure as

        director. On December 19, 2018, Kyle issued Hairgrove a disciplinary

        action report that documented “lateness” and “failure to follow

        instructions,” among other concerns. (JA0481)

              Hairgrove had a performance review on January 18, 2019. (JA0483)

        Hairgrove received an “unsatisfactory” rating in four categories,

        including “ethics, values, and stewardship,” “relationships,” and

        “planning and organization.” (JA0483-492)

              A month later, on February 25, 2019, DSI board members raised

        concerns about Hairgrove’s job performance. (JA0512). Among other

        things, Hairgrove did not respond to emails, she was late and unprepared

        for meetings, and she told the board she was too busy to handle tasks

        assigned to her. (Id.)



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              On June 18, 2019, Hairgrove was issued another disciplinary action

        report for “lateness,” “failure to follow instructions,” and “unsatisfactory

        work quality.” (JA0510) Hairgrove had a follow-up performance review

        on   November     13,     2019.   (JA0496)        Again,   she     received   four

        “unsatisfactory” ratings. (JA0496-509)

              G.   Hairgrove recorded the DSI board in closed session.

              On February 25, 2020, the DSI board held a regular meeting with

        Hairgrove in attendance. (JA0513-514, JA1444). At the end of the

        meeting. the board went into closed session. (JA0513-514) Hairgrove left

        a recording device in the room that captured the closed session. (JA1444)

        The board located the device, and board member Diane Young returned

        it to Hairgrove a day or so later. (JA0517, JA1445)

              On March 17, 2020, the DSI board sent a letter to City Manager

        Bailey, Assistant City Manager Kyle, and the city attorney that described

        Hairgrove’s non-consensual recording. (JA0513-520) The board felt that

        Hairgrove had committed a “deliberate breach of the Board’s trust” and

        that her “actions were dishonest” and “show[ed] a lack of integrity and

        good character.” (JA0519) The board took the position that Hairgrove

        should have been suspended for her conduct. (Id.) The board felt it “ha[d]



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        been placed in a difficult situation of continuing to work with an

        Executive Director who we hold in contempt.” (Id.) They did “not see a

        workable scenario where the existing Board remains intact with the

        current Executive Director [Hairgrove].” (Id.)

              A month later, on April 12, 2020, Hairgrove submitted a written

        response. (JA1441-1450) Hairgrove tried to justify her recording by

        arguing that the closed session was illegal. (JA1441, JA1447-1449) She

        also complained about the DSI board, in general, and described a

        “battering of emails, condescending remarks, and finger-pointing at me

        for any real or unreal action of ‘nonperformance,’” among other

        complaints. (JA1442-1443) Hairgrove never complained about sex-based

        discrimination in this 10-page response. (JA1441-1450)

              H.   Hairgrove received unsatisfactory job performance feedback.

              After the DSI board raised its concerns, City Manager Bailey asked

        Hairgrove to report directly to him. (JA0778) Bailey then asked DSI

        board members to provide feedback on Hairgrove’s performance so that

        he could conduct his own review. (JA0778, JA0300-301)

              Thirteen DSI board members provided feedback in different areas.

        (JA0778) Hairgrove received “39 ratings of below expectations, 35 ratings



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        of meets expectations, and only 4 ratings of exceeds expectations.”

        (JA0778, JA1512) Put another way, Hairgrove had the same number of

        “below expectations” ratings as she did “meets” or “exceeds expectations”

        ratings. (Id.) One board member wrote that “[h]aving to carry on with

        [Hairgrove] as ED would unquestionably lead to a series of resignations

        from the Board,” and another wrote that “[t]he board has lost all

        confidence and trust and is no longer willing to work with her.” (JA1514,

        JA1516) Bailey solicited feedback about Hairgrove from employees in

        parks and recreation, communications, and planning, and that feedback

        was negative as well. (JA0778)

                I.   Hairgrove resigned after she received a pre-dismissal letter.

                Based upon this feedback, City Manager Bailey prepared and

        delivered a pre-dismissal letter to Hairgrove on June 22, 2020. (JA0884,

        JA0201-202) The letter informed Hairgrove that she may be dismissed

        “based on a pattern of performance deficiencies.” (JA0778-780) Bailey

        scheduled a meeting with Hairgrove for two days later, on June 24, 2020.

        (Id.)




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              Before that meeting could occur, on June 23, 2020, Hairgrove

        resigned and claimed a “hostile work environment and work place

        harassment,” with no specifics. (JA0749, JA0565, JA0125-126)

              Salisbury accepted Hairgrove’s resignation on June 24, 2020.

        (JA0565) In that same letter, Salisbury expressed concern about

        Hairgrove’s allegations. (Id.) It asked Hairgrove to provide details about

        her allegations so that it could investigate. (Id.) Hairgrove did not

        respond. (JA0566) Salisbury followed up on August 28, 2020. (Id.) Again,

        Hairgrove did not respond. (JA0132-134)

              Latoya Price filled Hargrove’s position on a temporary basis after

        Hairgrove resigned. (JA0156) Sada Troutman was later hired as

        Hairgrove’s permanent replacement. (Id.) Both Price and Troutman are

        female. (Id.)

              J.    Hairgrove sued DSI, Salisbury, and Bailey

              On February 11, 2022, Hairgrove filed an amended complaint

        against DSI, Salisbury, and City Manager Bailey, in both his official and

        individual capacities. (JA0046-71) She sued raising the following claims:

              (1)   Title VII, sex-based discrimination and hostile work

        environment;



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              (2)   Title VII, retaliation for complaining about sex-based

        discrimination and hostile work environment;

              (3)   Wage and hour violations contrary to the North Carolina

        Wage and Hour Act and the Fair Labor Standards Act;

              (4)   A sex-based equal protection violation under 42 U.S.C. § 1983

        and a North Carolina Corum claim; and

              (5)   Title VII, post-employment retaliation for complaining about

        sex-based discrimination and hostile work environment.

        (JA0046-71)

              The district court dismissed Hairgrove’s FLSA claims and Title VII

        claims against DSI by order dated March 29, 2024. (JA0088-90) The

        district court granted the defendants’ respective motions for summary

        judgment on the remaining claims by order dated September 14, 2023.

        (JA1931-1954)




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                                  ARGUMENT SUMMARY

              Hairgrove was hired as the DSI director, a city department head

        with managerial oversight for the DSI program. Hairgrove acknowledged

        that the DSI director was an exempt position. The job was demanding.

        And, in the end, it proved too much for Hairgrove. So, she resigned. Then,

        after her resignation, Hairgrove sued and made claims that she never

        even hinted at during her employment. In discovery, Hairgrove

        attempted to rewrite her job duties to prop-up a claim for overtime pay

        under the FLSA and the NCWHA. She also recast her performance issues

        as claims for gender-based discrimination under Title VII and 42 U.S.C.

        § 1983. The undisputed evidence, however, shows no genuine issues of

        material fact. In turn, this Court should affirm summary judgment for

        defendants.

                                            ***

              Hairgrove argues that her wage and hour claims should be

        reinstated because defendants waived the executive and administrative

        exemptions in both the FLSA and the NCWHA. This procedural

        maneuver lacks support in fact and law. From a factual standpoint, the

        sole focus with Hairgrove’s wage and hour claims has been the executive



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        and administrative exemptions. They were raised in Hairgrove’s

        complaint and the responsive pleadings. These issues have been

        paramount in discovery and dispositive motions. Hairgrove has no

        straight face argument that the defense waived these exemptions. From

        a legal standpoint, Hairgrove cannot show surprise or prejudice, which is

        required before a defense is deemed waived.

                 Most important, the undisputed record evidence shows that

        Hairgrove met the criteria for both exemptions. Among other things,

        Hairgrove earned a sufficient wage, her primary duties were managerial,

        she oversaw at least two employees, and she had the authority to hire

        and terminate. Her argument to the contrary – that she felt

        micromanaged by those above her – does not create a factual dispute for

        trial.

                                             ***

                 Hairgrove’s discrimination claims are constructed on speculation

        and guesswork. The undisputed record shows that Hairgrove had long-

        standing performance issues that culminated in a request to meet with

        City Manager Bailey to discuss whether she could continue as DSI

        director. At that point, Hairgrove resigned.



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              Under both Title VII and § 1983, Hairgrove must forecast evidence

        that her employer took an adverse action against her, that she was

        fulfilling its legitimate expectations at the time, and that the

        circumstances infer discrimination. Hairgrove has not forecast any such

        evidence. To the contrary, the undisputed record shows that Hairgrove

        resigned when she was not fulfilling her employer’s expectations.

                                            ***

              Hairgrove had a rocky tenure as DSI director. But that does not

        mean she has a triable lawsuit against DSI, Salisbury, and Bailey. This

        Court should affirm summary judgment for defendants.

                                      ARGUMENT

              Summary judgment is reviewed de novo. Pueschel v. Peters, 577

        F.3d 558, 563 (4th Cir. 2009). It shall be granted “if the movant shows

        that there is no genuine dispute as to any material fact and the movant

        is entitled to judgment as a matter of law.” Fed. R. Civ. P. 56(a). A factual

        dispute is genuine “if the evidence is such that a reasonable jury could

        return a verdict for the nonmoving party.” Anderson v. Liberty Lobby,

        Inc., 477 U.S. 242, 248 (1986). A fact is material if it might affect the

        outcome. Id.



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              Hairgrove has not forecast evidence that reveals a genuine issue of

        material fact on her claims. Summary judgment should be affirmed.

        I.    THIS COURT SHOULD AFFIRM DISMISSAL OF HAIRGROVE’S
              FLSA CLAIMS AGAINST DSI, AND IT SHOULD AFFIRM
              SUMMARY JUDGMENT FOR ALL DEFENDANTS ON
              HAIRGROVE’S NCWHA CLAIMS

              Hairgrove is fixated on the district court’s dismissal of her FLSA

        claim on the grounds that she failed to plead that DSI was engaged in

        interstate commerce. (See Doc 55, Opening Brief 30-33, 39-40) This

        argument is misplaced given the district court’s ruling on summary

        judgment. The fact is, Hairgrove’s claim under the NCWHA provides the

        same remedies as the FLSA, and therefore, whether she pursued her

        overtime claims under the FLSA or the NCWHA does not matter because

        the executive and administrative overtime exemptions can be asserted

        under both statutes. See, e.g. N.C. Gen. Stat. § 95-25.14(b)(4) (2-year

        statute of limitations), § 95-25.22 (remedies). The probative question is

        whether defendants waived these exemptions and, if not, whether they

        bar Hairgrove’s overtime claims.




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              A.   Defendants did not waive their executive and administrative
                   exemption defenses

              Defendants raised executive and administrative exemptions in

        their pleadings. DSI first raised the issue in its motion to dismiss

        (JA0072). Defendants raised the exemptions again in their respective

        answers. (JA00791; JA00942)

              More than that, an affirmative defense is not waived as a legal point

        “absent unfair surprise or prejudice.” Patten Grading & Paving, Inc. v.

        Skanska USA Bldg., Inc., 380 F.3d 200, 205 (4th Cir. 2004). Indeed, “it

        would elevate form over substance to deny [Defendants] the opportunity

        to present all of [their] legal arguments.” Balt. County Fop Lodge 4 v.

        Balt. County, 565 F. Supp. 2d 672, 675 (D. Md. 2008). As such, even a

        defense that appears for the first time in a summary judgment motion is

        not waived if the plaintiff had “fair warning” the defense may arise.

        Brinkley v. Harbour Rec. Club, 180 F.3d 598, 612-613 (4th Cir. 1999). See

        also JTE Constructors of N.C., Inc. v. United States Fid. & Guar. Co.,

        2003 U.S. Dist. LEXIS 22301, *12-13 (M.D.N.C. Nov. 26, 2003).




        1 Salisbury and Bailey admitted that Hairgrove was an exempt employee.
        2 DSI also admitted that Hairgrove was an exempt employee.



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              Hairgrove has not either surprise or prejudice to support her waiver

        argument, as discussed below.

                   1.    Hairgrove cannot show unfair surprise

              Hairgrove’s salaried exempt status, and the executive and

        administrative exemptions, was the principal defense against her wage

        claims. This is shown in her amended complaint, discovery responses,

        deposition testimony and her summary judgment affidavit.

              In her complaint and amended complaint, Hairgrove acknowledged

        that she was classified as a salaried, exempt department head. (JA0017,

        JA0050). DSI responded with a motion to dismiss Hairgrove’s overtime

        claim on the grounds that she was a salaried, exempt employee, and

        ineligible for overtime compensation.           (JA0072-74). All defendants

        admitted Hairgrove was an exempt employee in their respective answers.

        (JA0079, JA0094) As the case progressed, it became clear that Hairgrove

        satisfied the executive exemption, and all parties and counsel understood

        that this exemption was central to the litigation.

              On May 24, 2022, DSI served written discovery on Hairgrove.

        Interrogatory No. 9 requested the following: “Describe in detail the

        factual basis for your contention that you were not in fact a salaried



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        exempt employee.” (JA0911-913) Hairgrove responded by citing and

        discussing the three elements of the executive exemption duties test:

        “plaintiff was not allowed to: manage the downtown development

        department; direct the work of at least two or more other full-time

        employees or their equivalent; [or] have the authority to hire or fire other

        employees or be deferred to in such matters.” Id.; See 29 C.F.R.

        §§ 541.100(2)-(4). Hairgrove did not even reference the administrative

        exemption in this response. Id.

              In her deposition, Hairgrove embraced the fact that various

        documents and circumstances affirmed her salaried exempt status as

        DSI’s director. Her initial onboarding employment documents referred to

        her position as salaried/exempt and her pay grade was consistent with a

        department head. (JA0580-583 (pay grades noting exempt status),

        JA0584-587 (memorandum of understanding referring to her position as

        a department head), JA0801-803 (offer letter – “salaried/exempt

        position”) (emphasis in original))3




        3 Hairgrove testified about these documents as well. (JA0671-678,
        JA0744-745)

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              Hairgrove acknowledged she was informed of the FLSA status of

        her position and that she understood “the overtime policy as it relates to

        me.” (JA0676-677) Hairgrove appreciated the meaning of being a salaried

        exempt employee by virtue of her previous employment as a salaried

        exempt Downtown Business Specialist for the City of Wilson, North

        Carolina. (JA0675, JA0889-891)

              In her corrected summary judgment affidavit (JA1742-1898),

        Hairgrove acknowledged that the executive and administrative

        exemptions were part of this lawsuit. (Compare JA1801 ¶ 111 (“I was

        never told at any time that I was exempt as either an administrative

        employee or as an executive employee”) (emphasis added) with JA0671-

        675 (she was hired into a “salary/exempt position”). Indeed, Hairgrove

        underlined the following in her signed Statement of Understanding: “I

        have been told the FLSA status of my position and I understand the

        overtime policy as it relates to me.” (JA0888 (emphasis in original))

              Hairgrove also understood the significance of her status as a

        department head and the moment in October 2018 when she first had

        two full-time staff reporting to her, as demonstrated throughout the

        record. (JA1745 ¶4 (Bailey was going to send her to Public Executive



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        Leadership training), JA1746 ¶7 (her salary range was the same as the

        Parks & Recreation Director and Communications Director), JA1762 ¶37

        (she hired 2 staff members in October 2018), JA1769 ¶50 (she was

        operating a new City department and running a nonprofit), JA1771

        ¶¶53-54 (two full-time staff coming in October 2018), JA1774 ¶60 (same),

        JA1779 ¶70 (referring to herself as an “experienced Director”), JA1805

        ¶118 (she attended FLSA training “as a manager with 2 full-time staff”),

        JA1815 ¶ 140 (referring to herself as “Downtown Executive Director, and

        my two staff members”), and JA1829 ¶175 (DSI met Main Street

        Standards “due to my direction over the first year”)).

              All told, the evidence does not show Hairgrove was surprised by the

        defenses.

                    2.    Hairgrove cannot show prejudice

              Here, while Hairgrove gives lip service to the concept of prejudice,

        she does not advance a valid argument supported by facts that she was

        unduly prejudiced because defendants asserted the executive exemption.

        (Doc 55, Opening Brief 34-39)

              Instead, she recycles her tired argument that Salisbury “refused”

        to produce various items in their January 2023 discovery responses, but



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        any prejudice resulting therefrom is her own fault, because she never

        followed up on this or filed a motion to compel. Id. at 38.

              The U.S. District Court in Maryland recently rejected a threadbare

        prejudice argument like Hairgrove’s, where a “technical failure” to plead

        an exemption as an affirmative defense did not result in waiver because

        “[h]ow and how much” plaintiffs were paid “was clearly at issue” in the

        case. Morrissey v. CES Computer Enhancement Systems, Inc., 2023 WL

        2432838 *3 (March 9, 2023) (citing Taylor v. HD & Assocs., L.L.C., 45

        F.4th 833, 838-39 (5th Cir. 2022)).

              Given that the parties litigated the exemptions from this case’s

        inception, Hairgrove has not shown she was prejudiced by the defenses

        either.

              And, on the merits, Hairgrove satisfies both the executive

        exemption and the administrative exemption such that her FLSA and

        NCWHA claims both fail.

              B.   Hairgrove satisfies the executive exemption

              Both the FLSA and the NCWHA require an employer to “pay each

        employee who works longer than 40 hours in any workweek at a rate of

        not less than time and one half of the regular rate of pay of the employee



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        for those hours in excess of 40 per week.” N.C. Gen. Stat. § 95-25.4(a); see

        29 U.S.C. § 207(a)(1). But these provisions do not apply to certain

        “executive” employees. See 29 U.S.C. § 213(a)(1); N.C. Gen. Stat. § 95-

        25.14(b)(4) (adopting the definitions of the FLSA for this exemption).

              Under the FLSA, an exempt executive employee is any employee:

              (1)   Compensated on a salary basis . . . at a rate of not less than
                    $684 per week4 . . .;

              (2)   Whose primary duty is management of the enterprise in
                    which the employee is employed or of a customarily
                    recognized department or subdivision thereof;

              (3)   Who customarily and regularly directs the work of two or
                    more other employees; and

              (4)   Who has the authority to hire or fire other employees or whose
                    suggestions and recommendations as to the hiring, firing,
                    advancement, promotion or any other change of status of
                    other employees are given particular weight.

        29 C.F.R. § 541.100(a).

              It is undisputed that Hairgrove satisfied the first element

        throughout her employment. (JA0672-673, JA0800, JA0892)

              To decide if work is exempt, courts consider “the relative

        importance of the exempt duties as compared with other types of duties;


        4 Before January 1, 2020, the figure was a salary exceeding $455 per

        week. See 29 C.F.R. § 541.600; 84 FR 51306 (Sept. 27, 2019).

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        the amount of time spent performing exempt work; the employee’s

        relative freedom from direct supervision; and the relationship between

        the employee’s salary and the wages paid to other employees for the kind

        of nonexempt work performed by the employee.” 29 C.F.R. § 541.700(a).

        Employees who spend more than 50 percent of their time performing

        exempt work will generally satisfy the primary duty requirement.” 29

        C.F.R. § 541.700(b).

              Hairgrove provides very little support for her position that she did

        not satisfy the executive exemption other than the conclusory arguments

        that she did not have two full-time employees until October 2018, that

        she was not evaluated in January 2019 on her supervisory abilities, and

        the unfounded contention that Assistant City Manager Zach Kyle

        “stripped her of her supervisory authority.” (Doc 55 Opening Brief 43-44)

        Even so, Hairgrove’s sworn testimony and her admissions demonstrate

        that she qualified for the executive exemption.

                   1.    Hairgrove’s duties are not in dispute

              Hairgrove admitted that her offer letter, resume and discovery

        responses accurately described the DSI director job duties. (JA0679-709,

        JA0711-712, JA0721, JA0815, JA0892-895, JA0901-902) See McVay v.



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        Mayflower Vehicle Sys., 2008 U.S. Dist. LEXIS 142432, at *19-20 (S.D.

        W. Va. July 31, 2008) (finding significant Plaintiff’s admission that his

        job description listing managerial duties was accurate).

              The posting for the DSI director describes an executive position:

        “[develops and oversees downtown development and revitalization

        activities and projects,” “[d]evelops marketing strategies,” “[b]uilds

        cooperative working relationships with boards, property owners,

        business and community partners,” “prepares and submits annual

        budgets” and “seeks to establish new economic development initiatives.”

        (JA0798-799)

              Hairgrove’s post-DSI resume describes an executive position:

        “built new department and merged economic development duties

        through new quasi-governmental structure,” “Managed 2 Full-Time

        Staff Members . . . plus 21 Member Board,” “City Management Team

        Member,” “Department Head/Management Team Member responsible

        for overseeing planning and development in MSD, staying within budget,

        cutting for efficiency and conservation of funds,” “Led board meetings,

        multiple committee meetings, oversight of budget,” and “updated by-

        laws/operational documents.” (JA0892)



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              Hairgrove       further     admitted      that       her       responsibilities,

        accomplishments, and future goals were memorialized in DSI Board

        meeting minutes, work plans, and goals/objectives worksheets she

        prepared. (JA0713-715, JA0821-828, JA1087-1103).

              In fact, in DSI’s May 2018 response to Salisbury’s RFP, Hairgrove

        identified herself as the executive director responsible for: “[p]rovid[ing]

        goal planning oversight and implementation planning for Board and

        Committees,” “Oversee[ing] daily duties of the non-profit business office,”

        “Facilitat[ing]     meetings       between          City     Departments         and

        developers/property/business owners” and “Supervis[ing] staff.” (JA0815)

        (See also JA0717-721) (response to RFP accurately describes her job

        duties).

              Hairgrove’s effort to disavow these admissions is ineffective. (See

        Doc 55, Opening Brief 41-42). First, she admits that after October 2018,

        she had 2 full-time employees. (Id. at 42) Second, her supervisor was

        unable to evaluate her on her supervisory abilities in January 2019

        because she had two full-time staff members for only a few months at

        that juncture; not because she was not a supervisor as she implies. And

        last, the contention that she was “stripped” of her supervisory authority



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        is untrue, as in one instance Latoya Price was assigned a project that

        Hairgrove could not handle. (JA1081-1082)

                    2.    The DSI board minutes show Hairgrove’s primary
                          duties were managerial

               The DSI board’s minutes provide multiple examples of Hairgrove

        describing managerial duties she was performing on an ongoing basis.

               In October 2018, Hairgrove presented her North Carolina Main

        Street Plan of Work FY 2018-19 to the DSI Board as an accurate

        depiction of her “duties to achieve economic development objectives

        within the Municipal Service District.” (JA0589-590, JA0821-828)

        Hairgrove stated that “her main duty is to oversee operations of the

        nonprofit business office, assist with implementation of the four

        committees’ work, manage the Empire [hotel] redevelopment project,

        [and] direct the Downtown Development Department by managing staff

        and projects . . . as a member of the City Management Team.” (JA0589-

        590)

               In August 2019, Hairgrove reported that she had prepared and

        submitted the annual report and was “assembling data for financial

        review.” (JA0595)




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              Hairgrove reported on her review of the preliminary audit she had

        been working on with Treasurer Tim Proper, her work with the CPA on

        DSI finances and her recommendations for changes to the next budget

        based on their findings. (JA0604, JA0608-609)

              In the October 22, 2019 DSI Board meeting, Hairgrove provided a

        Financial Report to the Board, and reported on the White House staff’s

        visit to the Empire Hotel and the brochure she and her staff created

        regarding investing in the Empire as an Opportunity Zone. (JA0604-605)

              In the May 26, 2020 DSI Board meeting, Hairgrove presented the

        2020/2021 proposed budget and reported that she was “working on the

        organization documents for our main street accreditation.” (JA0600-601)

                   3.    Hairgrove’s performance evaluations show her primary
                         duties were managerial

              Hairgrove’s performance evaluations reflect that she was appraised

        on her execution of managerial duties. (JA1045-1073) For example,

        Salisbury’s evaluation form contains a section devoted to “Managerial

        and Supervisory Competencies” that included assessments regarding

        leading by example, servant leadership, providing direction to and

        supervising staff, and planning and organization. (JA1064) The fact that

        Hairgrove received poor evaluation scores on these competencies does not


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        mean that she was not really a manager. There is a substantial difference

        between an executive being expected to carry out certain enumerated

        management duties and being criticized for doing a poor job in executing

        those duties. This was precisely the case with Hairgrove.

                   4.    Hairgrove was not a department head in name only, as
                         she claims

              A recurring theme in Hairgrove’s argument is that she was a

        department head “in name only.” (Doc 55, Opening Brief 3-4, 33, 35) Yet,

        as the undisputed record shows, Hairgrove did not officially describe her

        position as a department head “in name only.” She was quick to take

        credit for successes at DSI because she was in charge. It was only when

        faced with the demise of her disingenuous overtime claim that she

        claimed she was just an employee.

              “Determination of an employee’s primary duty must be based on all

        the facts in a particular case, with the major emphasis on the character

        of the employee’s job as a whole.” 29 C.F.R. § 541.700(a). Hairgrove’s

        primary responsibility was oversight of DSI operations and its daily

        activities, which she emphasized during DSI board meetings and any

        other opportunity she had to “educate” the board about her position.

        (JA0643-647, JA0723) Hairgrove testified that her job as a “full time


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        Executive Director” was “to assist with getting the whole overall [DSI

        work] plan done and . . . directing the development of the downtown,”

        including building redevelopment and ensuring that her staff was

        present at DSI events. (JA0642-643, JA0718) Hairgrove perceived these

        managerial and oversight duties to be the most important and she spent

        most of her time each day performing these duties. (Id.) See 29 C.F.R. §§

        541.700(a), (b). Her viewpoint supports the conclusion that her primary

        duty was management of DSI. See McVay v. Mayflower Vehicle Sys., 2008

        U.S. Dist. LEXIS 142432, at *17 (S.D. W. Va. July 31, 2008) (recognizing

        the importance of Plaintiff’s own perception that he was “responsible for

        the whole [press room] floor” and its “everyday activities”).

                   5.     Hairgrove’s claims of “micromanagement” do not alter
                          her status as an exempt executive

              Hairgrove    cannot    defeat        the   executive       exemption   by

        mischaracterizing normal supervision by the DSI Board and City as

        “micromanagement.” (Doc 55, Opening Brief 10, 61 (referencing

        monitoring of emails and key scans); JA1801 ¶111, JA1806 ¶120, JA1809

        ¶127, JA1818 ¶148, JA1834 ¶189) The executive exemption does not

        require a complete absence of oversight by supervisors, but only relative

        freedom from supervision. Aguirre v. Joe Theismann's Rest., 2019 U.S.


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        Dist. LEXIS 238123, *21-23 (E.D. Va. Dec. 3, 2019); Ward v. Family

        Dollar Stores, Inc., 2012 U.S. Dist. LEXIS 126052, at *36-37 (W.D.N.C.

        Aug. 24, 2012); Thomas v. Speedway SuperAmerica, LLC, 506 F.3d 496,

        507-508 (6th Cir. 2007) (this factor "does not demand complete freedom

        from supervision, such that [an employee] is answerable to no one, as this

        would disqualify all but the chief executive officer from satisfying this

        factor").

              Hairgrove uses purported “micromanagement” – such as the

        requirement that she respond to emails and phone calls within 24 hours

        and to maintain certain office hours – as an excuse for her poor job

        performance. These requirements arose only after complaints that she

        was not timely responding to calls and emails and was frequently late

        arriving to work. (JA0433, JA0437-438, JA1911-1920) The reality was

        that Hairgrove was hopelessly unorganized, as reflected in the DSI Board

        evaluations, but this does not mean she was improperly classified as an

        exempt executive employee. (JA1512-1562)




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                    6.     Hairgrove supervised, hired, and fired employees

               Hairgrove admitted in her deposition that after October 2018 she

        supervised two full-time employees, and that she was involved in every

        aspect of the hiring of Latoya Price and Candice Brown, and that she

        trained and evaluated them. (JA0642-643, JA0646, JA0680-687, JA0690-

        694, JA0720, JA0825, JA0892-893)

               Her claim that she was “stripped of her authority” to supervise

        Price shamelessly misrepresents what actually happened: Price was

        placed in charge of the N.C. Main Street Conference in 2019 because

        Hairgrove was doing a poor job, but this did not, in any respect, change

        that   reporting    relationship.   (JA0052,      JA0653-655,     JA1081-1082,

        JA1823-1824 ¶¶ 163-164)

               Against this backdrop, there is no dispute that Hairgrove satisfies

        the executive exemption.

               C.   Hairgrove satisfies the administrative exemption

               The evidence regarding Hairgrove’s job duties demonstrates that

        she also satisfies the requirements of the administrative exemption. The

        duties test for an “employee employed in a bona fide administrative

        capacity” means any employee:



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              (1)   Whose primary duty is the performance of office or non-
                    manual work directly related to the management or general
                    business operations of the employer or the employer's
                    customers; and

              (2)   Whose primary duty includes the exercise of discretion and
                    independent judgment with respect to matters of significance.

        See 29 C.F.R. § 541.200(a).

              First, Hairgrove’s admissions regarding her managerial duties are

        sufficient to satisfy the first element of the administrative exemption.

        29 C.F.R. § 541.200(a)(2). Hairgrove’s deposition testimony and

        presentations to the DSI Board, as reflected in its minutes, show that

        her primary duty was performing work directly related to management

        as she was directly involved in overseeing functional areas including

        finance, accounting, budgeting, auditing, insurance, marketing, hiring

        and firing employees, training, personnel management and supervision

        of DSI staff, public relations, and similar activities. See 29 C.F.R.

        § 541.201(b); See also, Lovo v. Am. Sugar Ref., Inc., 2018 U.S. Dist. LEXIS

        139543,     *37-39   (D.   Md.   Aug.      17,    2018)   (finding   supervisory

        responsibilities satisfied this requirement); Lane v. Sys. Application &

        Techs., Inc., 2015 U.S. Dist. LEXIS 27422, *9 (D. Md. March 6, 2015)

        (same).



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              Second, Hairgrove satisfies the second element because she

        exercised discretion and independent judgment with respect to matters

        of significance regarding building a new department under new quasi-

        governmental structure and using her expertise and knowledge of that

        structure to execute that mission. 29 C.F.R. § 541.200(a)(3). (See also

        JA0680, JA0892-895) Hairgrove believed she was uniquely qualified to

        do this and no one else within Salisbury or DSI was sufficiently educated

        to guide her so she did it on her own. (JA0644, JA0647, JA0723). See also

        WHD Op. Ltr. FLSA 2009-04 (Jan. 14, 2009) (application of exemption to

        convention and visitors services sales manager due to focus on marketing

        and promotional work to enhance the city as a destination); WHD Op.

        Ltr. FLSA 2006-34 (Sept. 21, 2006 (same)).

              These factors satisfy the requirement that the employee have

        authority to implement operating practices, carry out major assignments,

        and perform work that affects business operations to a substantial

        degree. See 29 C.F.R. § 541.202(b).

              For these reasons, Hairgrove also satisfies the administrative

        exemption.




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              D.   Hairgrove’s evidence on overtime hours worked does not raise
                   a genuine issue of material fact

              As a final point, Hairgrove argues that she has presented an

        accurate calculation of the hours that she worked for DSI by producing a

        calendar she created from whole cloth months after she resigned from

        DSI. (Doc 55, Opening Brief 45; JA1564-1574) This estimation of her

        overtime hours does not support her call for summary judgment to be

        reversed. The fact is, this calendar, by Hairgrove’s own admission, is full

        of inaccuracies. (JA0281-283, JA1564-1574) The data is incomplete and

        inherently unreliable as a basis for determining hours worked, especially

        given that it conflicts with Salisbury’s official time records submitted

        during Hairgrove’s employment.

              Hairgrove has the burden to show that her employer knew she was

        working overtime. Pforr v. Food Lion, Inc., 851 F.2d 106, 109-110 (4th

        Cir. 1988). She has not tendered evidence that Salisbury or DSI had any

        such knowledge and, indeed, they knew she was a salaried exempt

        department head who was not entitled to overtime pay.




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              E.   Hairgrove cannot assert a claim under the NCWHA against
                   Salisbury or Bailey

              As a final point, the NCWHA’s overtime provision does not apply to

        “any city, town, county, or municipality, or any State or local agency or

        instrumentality of government.” N.C. Gen. Stat. § 95-25.14(d).

        Hairgrove’s NCWHA claim against Salisbury and Bailey fails for this

        reason as well.

        II.   THIS COURT SHOULD AFFIRM SUMMARY JUDGMENT FOR
              DEFENDANTS ON HAIRGROVE’S TITLE VII AND § 1983
              CLAIMS

              Summary judgment is not defeated by unsupported speculation or

        conclusory allegations. See e.g. Smith v. Schlage Lock Co., LLC, 986 F.3d

        482, 486 (4th Cir. 2021) (cleaned up) (citations omitted). In cases brought

        under Title VII and § 1983, a plaintiff cannot forestall summary

        judgment with bare accusations that a defendant discriminated against

        them. See e.g. Autry v. North Carolina Dep't of Human Res., 820 F.2d

        1384, 1386 (4th Cir. 1987); Felty v. Graves-Humphreys Co., 818 F.2d

        1126, 1128 (4th Cir. 1987). Rather, the evidence must allow a jury to

        reach that conclusion. See generally id.

                                           ***




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              Hairgrove argues that a jury should decide her claims for sex-based

        disparate   treatment,    sex-based    hostile   work     environment,   and

        retaliation. The legal framework for these claims is the same under both

        Title VII and § 1983. See e.g. Gairola v. Virginia Dep't of General Services,

        753 F.2d 1281, 1288, n. 4 (4th Cir. 1985). Hairgrove’s claims, nonetheless,

        are based on speculation rather than evidence. Juries do not decide

        discrimination claims on speculation and conjecture. Ennis v. Nat'l Ass'n

        of Bus. & Educ. Radio, Inc., 53 F.3d 55, 62 (4th Cir. 1995). In turn, this

        Court should affirm summary judgment.

              A.    Hairgrove did not present a triable claim for sex-based
                    disparate treatment

              To sustain a sex-based disparate treatment claim under the

        McDonnell Douglas framework, a plaintiff must show:

              (1)   she is a member of a protected class;

              (2)   her employer took an adverse action against her;

              (3)   she had been fulfilling her employer’s legitimate expectations
                    at the time of the adverse action; and

              (4)   the adverse action occurred under circumstances that raise a
                    reasonable inference of unlawful discrimination, including
                    because the employer left open the position or replaced the
                    plaintiff with someone outside the protected class.




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        Sempowich v. Tactile Sys. Tech., Inc., 19 F.4th 643, 649-50 (4th Cir.

        2021).

              This Court should affirm summary judgment on this claim for two

        reasons. First, Hairgrove abandoned this claim at the district court level

        because she failed to argue that her evidence satisfied each element.

        Second, even if the claim was not abandoned, Hairgrove has not made a

        prima facie case.

                   1.    Hairgrove abandoned her claim for sex-based disparate
                         treatment at the district court

              The district court found that Hairgrove abandoned her sex-based

        disparate treatment claim in her opposition to summary judgment.

        “Nowhere in her brief,” the court wrote, “does [Hairgrove] discuss

        whether she suffered an adverse action when she resigned, for example,

        or whether she was fulfilling her employer’s legitimate expectations at

        the time.” (JA1941)

              Hairgrove concedes this point on appeal. (Doc 55, Opening Brief 47-

        49) Yet Hairgrove claims that her oversight was justified because she

        “did not brief issues which [she] considered obvious from the facts in the

        record ….” (Id. at 49) An argument is not preserved for appeal just

        because a party thinks the issue is obvious. Rather, to preserve an issue,


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        the appellant “must object on the same basis below as he contends is error

        on appeal.” United States v. Zayyad, 741 F.3d 452, 459 (4th Cir. 2014).

        Consistent with this rule, “[a]rguments raised in a trial court must be

        specific and in line with those raised on appeal,” otherwise they are

        waived. In re Under Seal, 749 F.3d 276, 287 (4th Cir. 2014).

              In “exceptional circumstances,” an issue may be raised for the first

        time on appeal. See e.g. Sony Music Ent. v. Cox Commc'ns, Inc., 93 F.4th

        222, 235 (4th Cir. 2024). A party’s objective belief that an issue is obvious

        is not an exceptional circumstance, though. And more to the point,

        Hairgrove makes no argument that exceptional circumstances allow her

        to make new arguments now.

              The fact is, Hairgrove did not preserve any argument that she made

        a prima facie case for sex-based disparate treatment. This Court should

        affirm summary judgment on this claim for this reason alone.

              More than that, Hairgrove’s evidence does not meet the second,

        third, and fourth McDonnell Douglas factors. As such, she cannot sustain

        her sex-based disparate treatment claim on the merits.




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                   2.    Hairgrove did not forecast evidence of an adverse action

              An adverse action refers to one that “constitutes a significant

        change in employment status, such as hiring, firing, failing to promote,

        reassignment with significantly different responsibilities, or a decision

        causing a significant change in benefits.” Hoyle v. Freightliner, LLC, 650

        F.3d 321, 337 (4th Cir. 2011) (quoting Burlington Indus., Inc. v. Ellerth,

        524 U.S. 742, 761 (1998) (internal quotations omitted)).

              Hairgrove cannot show an adverse action here because she was not

        terminated, she quit. To overcome this reality, Hairgrove argues that she

        was subject to a constructive discharge. To prove this, Hairgrove must

        show that Salisbury “deliberately made [her] working conditions

        intolerable, and thereby forced her to quit.” James v. Booz-Allen &

        Hamilton, Inc., 368 F.3d 371, 378 (4th Cir. 2004) (cleaned up, internal

        citations omitted).

              Constructive discharge is a high bar. “Dissatisfaction with work

        assignments, a feeling of being unfairly criticized, or difficult or

        unpleasant working conditions are not so intolerable as to compel a

        reasonable person to resign.” Booz-Allen & Hamilton, 368 F.3d at 378

        (cleaned up, internal citations omitted).



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              On this point, Hairgrove contends that her working conditions

        became intolerable after March 17, 2020, when the DSI board questioned

        why she recorded a closed session meeting without permission. (Doc 55,

        Opening Brief 49-51) The evidence, however, does not show that anyone

        made her working conditions “intolerable” such that she had to quit.

        Instead, the evidence is that Hairgrove did not see eye-to-eye with DSI

        board members and that she had performance issues. (JA1045-1073)

        Criticisms and demanding work conditions do not amount to constructive

        discharge. See e.g. Booz-Allen & Hamilton, Inc., 368 F.3d at 378. See also

        Carter v. Ball, 33 F.3d 450, 459 (4th Cir. 1994).

              For her part, Hairgrove cannot refute this principle with any

        precise evidence. In generic fashion, she claims “there is sufficient

        evidence to show that [Hairgrove] felt her working conditions were ‘so

        intolerable that a reasonable person’ in her position ‘would have felt

        compelled to resign,’” without any description of what that evidence is.

        (Doc 55, Opening Brief 50-51) It is Hairgrove’s burden to identify this

        evidence and explain why it shows a constructive discharge. See Fed. R.

        App. P. 28(a)(8)(A) (requiring argument section of an appellant's opening

        brief to contain “appellant's contentions and the reasons for them, with



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        citations to the authorities and parts of the record on which the appellant

        relies”). She has not done so.

              Hairgrove’s evidence does not meet the second McDonnell Douglas

        element.

                   3.    Hairgrove did not forecast evidence that she met her
                         employers’ legitimate expectations

              To meet the third element of the McDonnell Douglas test,

        Hairgrove must present “probative evidence that [s]he was, in fact,

        performing at a level that met [her] employer's legitimate expectations.”

        Hill v. Se. Freight Lines, Inc., 877 F. Supp. 2d 375, 391 (M.D.N.C. 2012),

        affirmed, 523 Fed. Appx. 213 (4th Cir. 2013). This decision is judged from

        the employer’s perspective, not the employee’s viewpoint. Id. See also

        Anderson v. Westinghouse Savannah River Co., 406 F.3d 248, 272 (4th

        Cir. 2005). Courts do not review employment performance. Id.

              Hairgrove tries to argue that she met employment expectations a

        few different ways. At first, Hairgrove argues that her performance

        fulfilled expectations because the Main Street Program itself met the

        minimum standards for accreditation. (Doc 55, Opening Brief 51). This

        argument is misleading. Program performance does not dictate whether

        an individual employee fulfilled expectations. If it could, then any sub-


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        par employee could satisfy this element by pointing to company-wide

        metrics. There is no legal support for this idea, creative as it may be.

              From there, Hairgrove pulls a few positive comments from her

        performance review in November 2019 to argue she was meeting

        expectations. (Doc 55, Opening Brief 51-52) That argument paints an

        incomplete picture of Hairgrove’s performance at that time. Even if

        Hairgrove received some good feedback in this review, she still received

        four “unsatisfactory” ratings overall. (JA0496-509) A few hand-picked

        comments do not override the larger conclusion that Hairgrove’s work

        was unsatisfactory in multiple areas. (JA0481-511, JA0513-526)

              Either way, Hairgrove’s arguments miss the larger picture.

        Hairgrove claims the adverse action (constructive discharge) occurred

        after March 2020. There is no dispute that Hairgrove was not fulfilling

        her employer’s expectations at that point, as the pre-dismissal letter lays

        out. (JA0778-780) Hairgrove makes no argument that she was fulfilling

        expectations when she alleges the constructive discharge occurred. Cf.

        Sempowich, 19 F.4th at 650 (evidence that an employee had high

        performance ratings and received awards, a raise, and an equity grant




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        raised a reasonable inference that the employee performed at a

        satisfactory level).

              Hairgrove’s evidence does not meet the third McDonnell Douglas

        element. Summary judgment should be affirmed on this independent

        ground too.

                    4.    Hairgrove did not forecast evidence that the alleged
                          adverse action occurred under circumstances that raise
                          a reasonable inference of unlawful discrimination

              The last element requires Hairgrove to show that the circumstances

        surrounding the alleged adverse action raise a reasonable inference of

        unlawful discrimination. Sempowich, 19 F.4th at 649-50. The classic

        example is when a male is hired to replace a female. Id. That did not

        occur here. Hairgrove was replaced by a female, Latoya Price, who was

        then replaced by another female, Sada Troutman. (JA0156)

              Because Hairgrove cannot argue that her position was filled by a

        male, she offers a non-specific argument that two male department heads

        were treated better than she because they were not subject to feedback

        from DSI board members, and these heads were not subject to the same

        email audits as she was. (Doc 55, Opening Brief 52-57)




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              Hairgrove’s argument is anecdotal. She presented no evidence that

        these male department heads had similar performance issues. Compare

        Luciano v. Olsten Corporation, 110 F.3d 210, 216 (2d Cir. 1997)

        (discrimination inference shown by evidence that male employees with

        poor performance reviews received promotions and raises over women

        with better performance reviews) with Hawkins v. PepsiCo, Inc., 203 F.3d

        274, 281 (4th Cir. 2000) (plaintiff with poor performance reviews, who did

        not get along with her supervisor, did not raise discrimination inference

        with evidence that supervisor treated white employees better than her).

        For this reason alone, Hairgrove has not shown a discriminatory intent.

              In addition, a plaintiff must demonstrate that a performance review

        was dishonest before they can argue that a review shows a discriminatory

        inference. Hawkins, 203 F.3d at 280. It is not enough to dispute a review

        on the merits. Id. Hairgrove makes no argument that Salisbury and

        Bailey gave her dishonest evaluations. She just believes the reviews

        should have been better. Hairgrove has not shown a discriminatory

        intent for this reason as well.

              Last, Hairgrove’s position overlooks the bigger point. She argues

        that male department heads were held to different standards, reviewed



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        by different people, and not subject to the same working conditions as

        her. (Doc 55, Opening Brief 55-57). But standards, reviews, and working

        conditions are not adverse actions to begin with. See e.g. Booz-Allen &

        Hamilton, Inc., 368 F.3d at 378; Carter, 33 F.3d at 459. Hairgrove needs

        to present evidence that she sustained a sex-based adverse action. Her

        personal belief that male department heads had it easier than she does

        not meet this standard.

              Hairgrove’s evidence does not meet the final McDonnell Douglas

        element. As a result, summary judgment should be affirmed.

              B.   Hairgrove did not present a triable claim for sex-based hostile
                   work environment

              Title VII and § 1983 prohibit employers from “subjecting an

        employee to a hostile work environment.” See Robinson v. Priority Auto.

        Huntersville, Inc., 70 F.4th 776, 781 (4th Cir. 2023). A “hostile work

        environment” means a workplace that is “so permeated with

        discriminatory intimidation, ridicule, and insult, that it would

        reasonably be perceived, and is perceived, as hostile or abusive.” Id.

              To prove a “hostile work environment,” Hairgrove must prove: (1)

        unwelcome harassment; (2) based on her sex; (3) that was so “severe or

        pervasive” that it altered her employment conditions and created an


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        abusive work environment; and (4) that the harassment was imputable

        to her employer. Robinson, 70 F.4th at 781.

              To decide whether an environment was hostile, “the Court must

        look at all the circumstances, which may include the frequency of the

        discriminatory conduct; its severity; whether it is physically threatening

        or humiliating, or a mere offensive utterance; and whether it

        unreasonably interferes with an employee’s work performance.” Roberts

        v. Glenn Indus. Grp., Inc., 998 F.3d 111, 118 (4th Cir. 2021) (cleaned up).

        This is an objective standard. Robinson, 70 F.4th at 781.

                                            ***

              Hairgrove’s arguments on this claim are lacking in substance. She

        references incidents of a hostile workplace, but does not describe these

        incidents with specificity. (Doc 55, Opening Brief 58) Hairgrove

        maintains her affidavit “gave examples of the hostile work environment,”

        but she does not describe these examples. (Id.) Again, it is Hairgrove’s

        obligation to cite and specify the evidence that supports her call for

        reversal. Fed. R. App. P. 28(a)(8)(A).

              The record evidence, nonetheless, reflects that Hairgrove did not

        meet job expectations, which led to disagreements and confrontations



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        with colleagues and supervisors. (JA0127-135, JA0420-421, JA0481-

        0511) Hairgrove never complained about a sex-based hostile work

        environment in her April 12, 2020 letter response to the DSI board.

        (JA1441-1450)

              Hairgrove then argues that the district court weighed her

        complaints about bullying, rude remarks, and the like. (Doc 55, Opening

        Brief 60) The district court did not weigh anything. It identified this

        evidence to analyze Hairgrove’s argument, but it pointed out that these

        events were not based on sex or “so severe and pervasive” that they

        created an abusive work environment. (JA1942-1945)

                                              ***

              Hairgrove cites to Boyer-Liberto v. Fontainebleau Corp., for the idea

        that a single discriminatory remark can create a hostile work

        environment. 786 F.3d 264, 285 (4th Cir. 2015). She then claims that one

        instance where a DSI board member allegedly said that Hairgrove

        “‘needed to be more like’ a certain man who worked for the City and who

        wore ‘nice suits’” gives rise to a hostile work environment under Boyer-

        Liberto. That stretch does not fit.




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              In Boyer-Liberto, a supervisor directed an unspeakable racial slur

        at the plaintiff and as the plaintiff worked her job. 786 F.3d at 269-71.

        This Court recognized that racial epithets by a supervisor are “extremely

        serious” and can alter employment conditions on the spot. Id. at 277-78.

              At best, the comment cited by Hairgrove may be unprofessional. But

        Title VII does not operate as a “general civility code” in the workplace.

        Oncale v. Sundowner Offshore Servs., Inc., 523 U.S. 75, 81 (1998). And

        “incidents that would objectively give rise to bruised or wounded feelings

        will not on that account satisfy the severe or pervasive standard.” Evans

        v. Int'l Paper Co., 936 F.3d 183, 192 (4th Cir. 2019) (quoting E.E.O.C. v.

        Sunbelt Rentals, Inc., 521 F.3d 306, 315 (4th Cir. 2008)). An offensive

        utterance, alone, does not alter employment conditions. Id. (quoting

        Harris v. Forklift Sys., Inc., 510 U.S. 17, 21 (1993)).

              To sum it up, an off-hand comment that Hairgrove “needed to be

        like a certain man” who worked for Salisbury does not show a hostile

        work environment, on its own, under Boyer-Liberto and its predecessors.

                                             ***

              As a final point, Hairgrove has not overcome Salisbury’s

        Ellerth/Faragher affirmative defense. Faragher v. City of Boca Raton,



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        524 U.S. 775, 778 (1998). The record shows that Salisbury (1) exercised

        reasonable care to prevent and correct promptly any sexually harassing

        behavior, and (2). Hairgrove failed to take advantage of any preventive

        or corrective opportunities. Id. Salisbury trained Hairgrove on its

        workplace anti-harassment policy and reporting procedures for

        harassment, and Hairgrove acknowledged this training on October 11,

        2017 and May 7, 2018. (JA0578-582) Despite this training, Hairgrove

        never reported a sex-based hostile work environment. This Court should

        affirm summary judgment for this reason as well.

              C.    Hairgrove did not present a triable claim for retaliation

              Hairgrove argues a triable retaliation claim under the McDonnell

        Douglas framework. To prove this claim, she must show:

              (1)   she engaged in a protected activity;

              (2)   the employer took an adverse action against her; and

              (3)   a causal connection between the protected activity and the
                    asserted adverse action.

        Walton v. Harker, 33 F.4th 165, 177 (4th Cir. 2022).

              Employees engage in protected conduct when they “complain to

        their superiors about suspected violations of Title VII.” Bryant v. Aiken

        Reg'l Med. Ctrs. Inc., 333 F.3d 536, 543–44 (4th Cir. 2003). The employee


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        must oppose an unlawful practice, or a practice they reasonably believe

        is unlawful, to engage in protected conduct. DeMasters v. Carilion Clinic,

        796 F.3d 409, 417 (4th Cir. 2015).

              Hairgrove argues that she complained about a hostile work

        environment in June 2019 and March 2020. The evidence from June 2019

        shows that Hairgrove was issued a disciplinary action report, but there

        is no evidence that she claimed the report was issued in retaliation for a

        discrimination complaint. (JA0510-511). And, as pointed out above,

        Hairgrove never complained about a sex-based hostile work environment

        in her April 12, 2020 letter response to the DSI board’s March 2020 letter.

        (JA1441-1450) The fact that Hairgrove never complained about alleged

        discriminatory conduct defeats her retaliation claim. See e.g. McIver v.

        Bridgestone Ams., Inc., 42 F.4th 398, 411 (4th Cir. 2022).

              In a last-ditch effort to save her claim, Hairgrove pivots from her

        sex-based claim altogether and claims she was retaliated against for

        reporting an alleged open meetings violation. Hairgrove made no such

        allegation in her complaint. And, as the district court noted, “parties

        cannot amend their complaints through briefing.” S. Walk at Broadlands

        Homeowners Ass’n, Inc. v. OpenBand at Broadlands, LLC, 713 F.3d 175,

        184 (4th Cir. 2013).



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                                               ***

              Hairgrove has not satisfied the second two elements of her

        retaliation claim either. She has not shown an adverse action, as briefed

        supra II.B.2., and she has not shown that her protected activity was the

        but-for, direct cause of her alleged constructive discharge. Univ. of Texas

        Sw. Med. Ctr. v. Nassar, 570 U.S. 338, 339, 362 (2013).

              D.   Hairgrove has abandoned any claim that defendants
                   retaliated against her and sabotaged future employment.

              Hairgrove alleged in her amended complaint that Salisbury and

        Bailey retaliated against her and sabotaged her employment with the

        Lexington Tourism Authority (LTA) after she filed an EEOC charge.

        (JA0061-62) Hairgrove did not brief this claim on appeal. The claim is

        now waived. See Fed. R. App. P. 28(a)(8)(A); United States v. Holness, 706

        F.3d 579, 592 (4th Cir. 2013) (“contentions not raised in the argument

        section of the opening brief are abandoned”) Williams v. Giant Food Inc.,

        370 F.3d 423, 430 n.4 (4th Cir. 2004) (same).

              E.   Hairgrove has abandoned her individual capacity claims
                   against Bailey

              Hairgrove makes no argument in her brief that summary judgment

        should be reversed and remanded as to her individual capacity claims



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        against Bailey. Those claims have been waived now too. Holness, 706

        F.3d at 592; Giant Food Inc., 370 F.3d at 430 n.4.

              And those claims are subject to two additional defenses raised

        before the district court. First, to sustain a § 1983 claim against person,

        the plaintiff must plead that the individual acted under the color of state

        law. Davis v. Durham Mental Health Developmental Disabilities

        Substance Abuse Area Auth., 320 F. Supp. 2d 378, 403 (M.D.N.C. 2004).

        In addition, when proceeding under § 1983, a plaintiff must allege that

        the government official acted “personally in the deprivation of the

        plaintiff's rights.” Bostic v. Rodriguez, 667 F. Supp. 2d 591, 612 (E.D.N.C.

        2009) (citing Wright v. Collins, 766 F.2d 841, 850 (4th Cir. 1985)).

        Hairgrove made no argument on this point.

              Second, Bailey is protected from those claims by qualified immunity,

        unless the evidence shows that he violated a “clearly established”

        constitutional right. Doe ex rel. Johnson v. S.C. Dep’t of Soc. Servs., 597

        F.3d 163, 169 (4th Cir. 2010). Bailey made this argument at the district

        court as well, and Hairgrove made no argument on this point either.

                                     CONCLUSION

              Hairgrove has not shown a genuine issue of material fact sufficient

        to reinstate her wage and hour claims or her discrimination claims.

        Summary judgment should be affirmed.

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              This the 3rd day of May 2024.

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                        CERTIFICATE OF FILING AND SERVICE

              I hereby certify that on May 3, 2024, I electronically filed the

        foregoing Brief of Appellees with the Clerk of Court for the United States

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        below:

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